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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


  ANGIE HARRIS,                           )
                                          )
                    Plaintiff,            )
                                          )
  vs.                                     )   Case No. 17-CV-940-NJR-DGW
                                          )
  EXPERIAN INFORMATION                    )
  SOLUTIONS, INC., EQUIFAX                )
  INFORMATION SERVICES, LLC, and          )
  ALLY FINANICAL INC.,                    )
                                          )
                    Defendants.           )


                      JUDGMENT IN A CIVIL ACTION

 DECISION BY THE COURT.

        IT IS ORDERED AND ADJUDGED that, pursuant to the Order dated May 22,

 2018 (reflecting the settlement between Plaintiff and Defendants), this action is

 DISMISSED with prejudice.

        DATED: June 28, 2018

                                              JUSTINE FLANAGAN, Acting Clerk

                                              By: s/Deana Brinkley
                                                    Deputy Clerk


 APPROVED: ____________________________
           NANCY J. ROSENSTENGEL
           United States District Judge
